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Of Attorneys for Plaintiff



                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                     MEDFORD DIVISION


  DONALD L. OLSON as TRUSTEE OF                   Case No. 1:15-CV-1692-CL
  THE OLSON LIVING TRUST,
                                                  FIRST AMENDED COMPLAINT
                  Plaintiff,
                                                  (Breach of Contract)
                     vs.
                                                  $69,604.39
  CHICAGO TITLE INSURANCE
  COMPANY, successor to TICOR TITLE               Demand for Jury Trial
  INSURANCE COMPANY, and the CITY
  OF GRANTS PASS

              Defendants.
  ___________________________________


         Plaintiff alleges as follows:

                                             1.

         Plaintiff is the owner of real properties located at 1711 Softwood Way, Grants

  Pass, Oregon 97526, 1115 Catherine Way, Grants Pass, Oregon 97526, 1726 Kids

  Way, Grants Pass, Oregon 97526, and 1736 Kids Way, Grants Pass, Oregon 97526.

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                                              2.

         At all material times, Ticor Title Insurance Company was a California

  corporation which issues real property title insurance policies. At the time when the

  policies were issued, Defendant Chicago Title was a licensed insurance producer, and

  transacted insurance in the state of Oregon. At all material times, Defendant Chicago

  Title Insurance Company was the successor in interest to Ticor Title Insurance

  Company, hereinafter “Defendant Chicago Title”.

                                              3.

         At all material times, the City of Grants Pass was an Oregon political

  subdivision as defined by ORS 657.097, hereinafter “Defendant City of Grants Pass”.

                                              4.

         On or about May 1, 2008, Defendant Chicago Title issued lender’s Policy No.

  26-62822, in connection with the real property at 1711 Softwood Way, and

  identifying Plaintiff as the Insured. A copy of the policy is attached hereto as

  “Exhibit 1" and is thereby incorporated. At the time the policy was issued, Plaintiff

  was the beneficiary of a first Trust Deed on the property, which is recorded in the

  Official Records of Josephine County as Instrument No. 2008-017530. Subsequently,

  the grantor of the Trust Deed defaulted in its obligation to Plaintiff, and on or about

  May 25, 2011 the real property was conveyed to Plaintiff via a deed in lieu of

  foreclosure, which was recorded in the Official Records of Josephine County as

  Instrument No. 2011-006124.

  ///

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                                              5.

         In early June of 2011, Plaintiff discovered that prior to the issuance of the

  insurance policy, 1711 Softwood Way was encumbered by System Development

  Charges, (hereinafter: “SDC’s”) which were not disclosed in Schedule B of the Policy

  as being excepted from coverage. At the same time, Plaintiff discovered that prior to

  the issuance of the insurance policy, 1711 Softwood Way was encumbered by

  Advanced Financed District Charges, (hereinafter: “AFD’s”), which were not disclosed

  on Schedule B of the Policy as an exception to coverage, sufficient to put Plaintiff on

  notice of a pre-existing financial obligation.

                                              6.

         On or about April 29, 2008, Defendant Chicago Title issued lenders Policy No.

  26-62819, in connection with the real property at 1115 Catherine Way, and

  identifying Plaintiff as the Insured. A true copy of the policy is attached hereto as

  “Exhibit 2" and is thereby incorporated. At the time the policy was issued, Plaintiff

  was the beneficiary of a first Trust Deed on the property, which was recorded in the

  Official Records of Josephine County as Instrument No. 2008-007139. Subsequently,

  the grantor of the Trust Deed defaulted on its obligation to Plaintiff, and on or about

  May 25, 2011, the real property was conveyed to Plaintiff via a deed in lieu of

  foreclosure, which was recorded in the Official Records of Josephine County as

  Instrument No. 2011-006123.

                                              7.

         In early June of 2011, Plaintiff became aware that prior to the issuance of the

  insurance policy, 1115 Catherine was encumbered by SDC’s, which were not disclosed
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  in Schedule B of the Policy as being excepted from coverage. At the same time,

  Plaintiff discovered that prior to the issuance of the insurance policy, 1115 Catherine

  Way was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy

  as an exception to coverage, sufficient to put Plaintiff on notice of a pre-existing

  financial obligation.

                                              8.

         On or about August 30, 2007, Defendant Chicago Title issued lenders Policy

  No. 26-60393, in connection with the real property at 1726 Kids way, and identifying

  Plaintiff as the Insured as to an undivided 50% interest. A true copy of the policy is

  attached hereto as “Exhibit 3" and is thereby incorporated. At the time the policy was

  issued, Plaintiff was the beneficiary of a first Trust Deed as to an undivided 50%

  interest. The Trust Deed was recorded in the Official Records of Josephine County as

  Instrument No. 2007-017096. Subsequently, the grantor of the Trust Deed defaulted

  on its obligation to Plaintiff, and on or about May 25, 2011 the real property was

  conveyed to Plaintiff alone via a deed in lieu of foreclosure, which was recorded in the

  Official Records of Josephine County as Instrument No. 2011-006125.

                                              9.

         In early June of 2011, Plaintiff became aware that prior to the issuance of the

  insurance policy 1726 Kids Way was encumbered by SDC’s, which were not disclosed

  in Schedule B of the Policy as being excepted from coverage. At the same time,

  Plaintiff discovered that prior to the issuance of the insurance policy, 1726 Kids Way

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  was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy as an

  exception to coverage, sufficient to put Plaintiff on notice of a pre-existing financial

  obligation.

                                              10.

         On or about November 19, 2008, Defendant Chicago Title issued lenders Policy

  No. 26-64437, in connection with the real property at 1736 Kids Way, and identifying

  Plaintiff as the Insured. A true copy of the policy is attached hereto as “Exhibit 4" and

  is thereby incorporated. At the time the policy was issued, Plaintiff was the

  beneficiary of a first Trust Deed, recorded in the Official Records of Josephine County

  as Instrument No. 2008-017530. Subsequently, the grantor of the Trust Deed

  defaulted in its’ obligations to Plaintiff, and on or about May 25, 2011 the real

  property was conveyed to Plaintiff via a deed in lieu of foreclosure, which was

  recorded in the Official Records of Josephine County as Instrument No. 2011-006126.

                                              11.

         In early June of 2011, Plaintiff became aware that prior to the issuance of the

  insurance policy 1736 Kids Way was encumbered by SDC’s, which were not disclosed

  in Schedule B of the Policy as being excepted from coverage. At the same time,

  Plaintiff discovered that prior to the issuance of the insurance policy, 1736 Kids Way

  was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy as an

  exception to coverage, sufficient to put Plaintiff on notice of a pre-existing financial

  obligation.

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                                              12.

         The “Covered Risks” section of each policy is identical, and provides that

  subject to the exclusions from coverage contained in Schedule B, as of the date of the

  policy, Defendant Chicago Title would insure Plaintiff against any loss or damage

  sustained or incurred by reason of:

                “Any defect in or lien or encumbrance of the Title. This Covered Risk
                includes but is not limited to insurance against loss from [T]he lien of
                real estate taxes or assessments imposed on the Title by a governmental
                authority due or payable, but unpaid.” Covered Risks 2(b).

                                              13.

         On or about May 20, 2013, Plaintiff submitted a Proof of Loss to Defendant

  Chicago Title as to each and every loss, and has performed all other obligations under

  the policies. Defendant Chicago Title or Defendant Chicago Title’s successor has

  denied each of Plaintiff’s claims under the policies.

                                FIRST CLAIM FOR RELIEF
                       Breach of Contract - Defendant Chicago Title

                                              14.

         Plaintiff re-alleges Paragraphs 1 through 13 above.

                                              15.

         Plaintiff entered into an insurance contract with Defendant Chicago Title.

  Defendant Chicago Title agreed to insure Plaintiff against any defects caused by any

  liens or encumbrances on the title of 1711 Softwood Way, caused by the real estate of

  real estate taxes or assessments imposed by a governmental authority due or payable,

  but unpaid. Despite this agreement, Defendant Chicago Title refused to pay Plaintiff’s

  losses related to a covered risk.
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                                             16.

         Plaintiff is the beneficiary of the insurance contract and has the right to receive

  loss payment in these circumstances.

                                             17.

         Plaintiff has performed all of Plaintiff’s obligations under the terms of the

  Policy. Plaintiff has presented Proofs of Loss to Defendant Chicago Title, and

  presented claims under the Policy with Defendant Chicago Title, which have been

  denied. Plaintiff has exhausted Plaintiff’s remedies under the Policy, short of

  litigation.

                                             18.

         Defendant Chicago Title has breached its contract with Plaintiff by failing to

  pay Plaintiff’s claims in accordance with the terms of the Policy. Plaintiff has been

  damaged in the amount of $15,594.95, or such other amount as may be proven at

  trial, because of Defendant Chicago Title’s failure to pay for damages which are

  covered under the Policy.

                              SECOND CLAIM FOR RELIEF
                       Breach of Contract - Defendant Chicago Title

                                             19.

         Plaintiff re-alleges Paragraphs 1 through 18 above.

                                             20.

         Plaintiff entered into an insurance contract with Defendant Chicago Title.

  Defendant Chicago Title agreed to insure Plaintiff against any defects caused by liens

  or encumbrances on the title of 1115 Catherine Way, caused by the real estate of real

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  estate taxes or assessments imposed by a governmental authority due or payable, but

  unpaid. Despite this agreement, Defendant Chicago Title refused to pay Plaintiff’s

  losses related to a covered risk.

                                              21.

         Plaintiff is the beneficiary of the insurance contract and has the right to receive

  loss payment in these circumstances.

                                              22.

         Plaintiff has performed all of Plaintiff’s obligations under the terms of the

  Policy. Plaintiff has presented Proofs of Loss to Defendant Chicago Title, and

  presented claims under the Policy with Defendant Chicago Title, which have been

  denied. Plaintiff has exhausted Plaintiff’s remedies under the Policy, short of

  litigation.

                                              23.

         Defendant Chicago Title has breached its contract with Plaintiff by failing to

  pay Plaintiff’s claims in accordance with the terms of the Policy. Plaintiff has been

  damaged in the amount of $15,604.39, or such other amount as may be proven at

  trial, because of Defendant Chicago Title’s failure to pay for damages which are

  covered under the Policy.

                               THIRD CLAIM FOR RELIEF
                       Breach of Contract - Defendant Chicago Title

                                              24.

         Plaintiff re-alleges Paragraphs 1 through 23 above.

  ///

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                                              25.

         Plaintiff entered into an insurance contract with Defendant Chicago Title.

  Defendant Chicago Title agreed to insure Plaintiff against any defects caused by liens

  or encumbrances on the title of 1726 Softwood Way, caused by the real estate of real

  estate taxes or assessments imposed by a governmental authority due or payable, but

  unpaid. Despite this agreement, Defendant Chicago Title refused to pay Plaintiff’s

  losses related to a covered risk.

                                              26.

         Plaintiff is the beneficiary of the insurance contract and has the right to receive

  loss payment in these circumstances.

                                              27.

         Plaintiff has performed all of Plaintiff’s obligations under the terms of the

  Policy. Plaintiff has presented Proofs of Loss to Defendant Chicago Title, and

  presented claims under the Policy with Defendant Chicago Title, which have been

  denied. Plaintiff has exhausted Plaintiff’s remedies under the Policy, short of

  litigation.

                                              28.

         Defendant Chicago Title has breached its contract with Plaintiff by failing to

  pay Plaintiff’s claims in accordance with the terms of the Policy. Plaintiff has been

  damaged in the amount of $19,103.03, or such other amount as may be proven at

  trial, because of Defendant Chicago Title’s failure to pay for damages which are

  covered under the Policy.

  ///
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                              FOURTH CLAIM FOR RELIEF
                       Breach of Contract - Defendant Chicago Title

                                              29.

         Plaintiff re-alleges Paragraphs 1 through 28 above.

                                              30.

         Plaintiff entered into an insurance contract with Defendant Chicago Title.

  Defendant Chicago Title agreed to insure Plaintiff against any defects caused by liens

  or encumbrances on the title of 1736 Softwood Way, caused by the real estate of real

  estate taxes or assessments imposed by a governmental authority due or payable, but

  unpaid. Despite this agreement, Defendant Chicago Title refused to pay Plaintiff’s

  losses related to a covered risk.

                                              31.

         Plaintiff is the beneficiary of the insurance contract and has the right to receive

  loss payment in these circumstances.

                                              32.

         Plaintiff has performed all of Plaintiff’s obligations under the terms of the

  Policy. Plaintiff has presented Proofs of Loss to Defendant Chicago Title, and

  presented claims under the Policy with Defendant Chicago Title, which have been

  denied. Plaintiff has exhausted Plaintiff’s remedies under the Policy, short of

  litigation.

                                              33.

         Defendant Chicago Title has breached its contract with Plaintiff by failing to

  pay Plaintiff’s claims in accordance with the terms of the Policy. Plaintiff has been

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  damaged in the amount of $19,103.00, or such other amount as may be proven at

  trial, because of Defendant Chicago Title’s failure to pay for damages which are

  covered under the Policy.

                                  FIFTH CLAIM FOR RELIEF
                                      ATTORNEY FEES

                                               34.

          Plaintiff realleges paragraphs 1 through 13 above.

                                               35.

          Because settlement was not made within six (6) months of Defendant Chicago

  Title receiving proof of the loss, Plaintiff is entitled to recover attorney fees, pursuant

  to ORS 742.061, as to each of Plaintiff’s claims for relief.

                                 SIXTH CLAIM FOR RELIEF
                              Count One: Declaratory Judgment

                                               36.

          Plaintiff realleges paragraphs 1 through 13 above.

                                               37.

          In the alternative to Plaintiff’s Claims for Relief, 1 through 5, Plaintiff seeks a

  declaration that the SDC’s are not continuing liens secured by the properties as

  claimed by Defendant City of Grants Pass. On or about July 22, 1991, Defendant City

  of Grants Pass enacted Ordinance No. 4708, which allowed Defendant City of Grants

  Pass to establish SDC’s, subject to the provisions of the City of Grants Pass Municipal

  Code, hereinafter “the Code”, Chapter 8.09. A copy of the original 1991 Ordinance is

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  attached as Exhibit “5”. The Code was later amended and re-numbered in 2002, and

  amended again in 2003, 2005, 2006 and 2015. A copy of the current 2015 City of

  Grants Pass Municipal Code is attached hereto as Exhibit “6”.

                                             38.

         According to the Code, the purpose of the SDC’s was to pass the costs of

  developing and connecting properties to the City’s utility systems to the owners of

  those properties when they connected to the systems. CGPMC 3.10.020. The SDC’s

  are payable upon, and as a condition of, issuance of building permits or connection

  authorizations. CGPMC 3.10.070. And those who apply for building permits are

  obligated to pay the charges in full when they apply for the permit, and it is unlawful

  for anyone to continue construction or development of the property until the charge

  has been paid. CGPMC 3.10.070. And the City Manager shall not allow any

  connection to the water or wastewater system until all charges described in 3.10.070

  of the Code, together will all other applicable fees and charges have been paid in full.

  CGPMC 3.10.070(c).

                                             39.

         The Code specifically sets forth enforcement options where an SDC has not

  been paid, but nowhere does the Code, state that an unpaid SDC is treated as a

  continuing lien on the property. Rather, the Code itself specifically distinguishes the

  difference between the SDC being treated as a “tax” versus a “fee for use”.

                                             40.

         The SDC’s function as a “fee for use” of utilities and not “taxes” or

  “proportional assessments” because they are not applied against all affected properties
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  equally. Rather, the collection of the SDCs are user charges specifically tied to the

  issuance of a building or development permit and are due and payable in full as a

  condition of the permit. If a property owner never applies for connection to the utility

  system, then no charge would ever come due. And if a property owner does apply for

  connection to the system, the SDC’s charges are immediately due and payable, or if

  they are not paid in full, no permit is to issue. Defendant City of Grants Pass contends

  that the SDC charges constitute a continuing lien against Plaintiff’s property, Plaintiff

  contends otherwise. Plaintiff requests that the Court declare that the SDC charges are

  not a continuing lien and declaring them void, fully satisfied and estopping Defendant

  City of Grants Pass from claiming any right or interest in the SDC’s, as against

  Plaintiff’s real property.

                               Count Two: Declaratory Judgment

                                              41.

         In the alternative to Plaintiff’s Claims for Relief 1 through 5 and Plaintiff’s

  Claim for Relief 6, Count One, even if the SDCs are liens held by Defendant City of

  Grants Pass, Plaintiff requests that the Court declare that the SCDs are void because

  Defendant City of Grants Pass failed to establish constructive notice for future owners

  of the real properties by either: 1) recording each SDC claim in the Official Records of

  Josephine County as required by ORS 93.643(1); or 2) maintaining a searchable

  electronic database as required by ORS 93.643(2)(b).

                                              42.

         Plaintiff is therefore a bona fide purchaser who acquired the property in good

  faith, in an arms length transaction and for fair market value and adequate
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  consideration. Plaintiff has no plain, speedy or adequate relief at law. Plaintiff

  contends that he is a bona fide purchaser who purchased the property without notice

  and is not obligated to pay for the SDC charges. Based on information and belief,

  Defendant City of Grants Pass contends otherwise. Plaintiff requests that the court

  declare that Plaintiff is a bona fide purchaser and is not obligated to pay for the SDC

  charges and declaring them void, fully satisfied and estopping Defendant City of

  Grants Pass from claiming any right or interest in the SDC’s, as against Plaintiff’s real

  property.

                               SEVENTH CLAIM FOR RELIEF
                                  Declaratory Judgment

                                              43.

         Plaintiff realleges paragraphs 1 through 13 as above.

                                              44.

         In the alternative to Plaintiff’s Claims for Relief 1 through 5, Plaintiff seeks a

  declaration thatthe AFD’s are not continuing liens secured by the property as claimed

  by Defendant City of Grants Pass.

                                              45.

         On or about August 24, 2002, Defendant City of Grants Pass enacted Ordinance

  No. 5149, amending the advanced financed district for “PUBLIC WATER, STORM

  DRAIN AND STREET IMPROVEMENTS IN “N” STREET.” The amended Ordinance

  allowed Defendant City of Grants Pass to establish AFD’s for the purpose of collecting

  reimbursement of the prorated share of the cost of installation of certain

  improvements. A copy of Ordinance No. 5149 is attached hereto as Exhibit “7".

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                                              46.

           Based upon information and belief, Defendant City of Grants Pass claims that

  AFD charges resulting from the enactment of the Ordinance functions as a lien against

  the benefitting property.

                                              47.

           To the contrary, in no place do the terms of Ordinance No. 5149 indicate that

  the AFD’s constitute a continuing lien on the property. The AFD’s are a “fee for use” of

  utilities and improvements, not “taxes” or “proportional assessments,” because they

  are not applied against all affected properties equally. Furthermore, the Ordinance

  fails to describe when the AFD charges are due and owing, or to prescribe a specific

  rate of interest on any debt accruing thereunder. Defendant City of Grants Pass

  contends that the AFD’s constitute a continuing lien against Plaintiff’s property,

  Plaintiff contends otherwise. Plaintiff requests that the Court declare that the AFD’s

  are not a continuing lien.

                                 EIGHT CLAIM FOR RELIEF
                                   Declaratory Judgment

                                              48.

           Plaintiff realleges paragraphs 1 through 13 as above.

                                              49.

           On or about February 26, 2004, Defendant City of Grants Pass enacted

  Ordinance No. 5215, which allowed Defendant City of Grants Pass to establish AFD’s

  for water improvements. A copy of Ordinance No. 5215 is attached hereto as Exhibit

  “8".

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                                             50.

           On or about February 26, 2004, Defendant City of Grants Pass enacted

  Ordinance No. 5217, which allowed Defendant City of Grants Pass to establish AFD’s

  for storm improvements. A copy of Ordinance No. 5217 is attached hereto as Exhibit

  “9".

                                             51.

           On or about February 26, 2004, Defendant City of Grants Pass enacted

  Ordinance No. 5218, which allowed Defendant City of Grants Pass to establish AFD’s

  for landscaping improvements. A copy of Ordinance No. 5218 is attached hereto as

  Exhibit “10".

                                             52.

           Based upon information and belief, Defendant City of Grants Pass claims that

  charges resulting from the enactment of each of the Ordinances functions as a

  continuing lien against the property.

                                             53.

           To the contrary, nowhere do any of the AFD Ordinances indicate that they

  constitute a continuing lien on the property. Rather, each of the Ordinances indicates

  that the AFD’s are user charges specifically tied to the issuance of a building permit, a

  development permit or connection to the public water system and are due and payable

  in full as a condition of either the issuance of the permit or connection to the system.

  As such, the AFD’s function as a “fee for use” of utilities and not “taxes” or

  “proportional assessments,” because they are not applied against all affected

  properties equally.
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                                              54.

           Furthermore, based on information and belief, Defendant City of Grants Pass

  claims to have authority to charge Plaintiff 8% simple interest per annum for any

  debts owed on the AFD’s. However, section 4 of each of these Ordinances provides

  that repayment from the benefitted property “shall include annual simple interest at a

  rate of 4% from the date of adoption for this ordinance.” Plaintiff seeks a declaration

  that the City of Grants Pass is charging interest in excess of the rate permitted by the

  ordinance.

                                               55.

           Plaintiff has no plain, speedy or adequate relief at law.

  WHEREFORE, Plaintiffs request the following relief:

           1.     On Plaintiff’s First Claim for Relief, judgment against Defendant Chicago

  Title in the amount of $15,594.95, or such other amount as may be proven at trial;

           2.     On Plaintiff’s Second Claim for Relief, judgment against Defendant

  Chicago Title in the amount of $15,604.39 or such other amount as may be proven at

  trial;

           3.     On Plaintiff’s Third Claim for Relief, judgment against Defendant

  Chicago Title in the amount of $19,103.03 or such other amount as may be proven at

  trial;

           4.     On Plaintiff’s Fourth Claim for Relief, judgment against Defendant

  Chicago Title in the amount of $19,103.00 or such other amount as may be proven at

  trial;

  ///
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                                                                                          ATTORNEYS AT LAW
                                                                                          133 NW ‘D ’ STREET
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         5.     On Plaintiff’s Fifth Claim for Relief, for attorney fees on each prior Claim

  for Relief, pursuant to ORS 742.061, costs and disbursements; and

         6.     In the alternative to all aforementioned Claims for Relief, on Plaintiff’s

  Sixth Claim for a relief, Count One, Plaintiff prays for a judgment declaring that the

  SDC’s are not liens on the Property, declaring them void, fully satisfied and

  estopping Defendant City of Grants Pass from claiming any right or interest in the

  SDC’s, as against Plaintiff’s real property.

         7.     In the alternative to all aforementioned Claims for Relief, on Plaintiff’s

  Sixth Claim for Relief, Count Two, Plaintiff prays for a judgment declaring that the

  SDC’s liens are void, because Defendant City of Grants Pass failed to either 1) record

  the SDC lien claim in the Official Records of Josephine County as required by ORS

  93.643(1); or 2) failed to maintain a searchable electronic database as required by

  ORS 93.643(2)(b) for the SDC liens to become public record and provide constructive

  notice, and declaring Plaintiff to be a bona fide purchaser in good faith, pursuant to

  ORS Chapter 93.

         8.     In the alternative to all aforementioned Claims for Relief, on Plaintiff’s

  Seventh Claim for Relief, Plaintiff prays for a judgment declaring that Ordinance No.

  5149 does not create a continuing lien against Plaintiff’s real property, and if any debt

  does exist, there is no interest due and owing the debt, as no rate of interest was

  ascribed to such debt in the Ordinance.

         9.     In the alternative to all aforementioned Claims for Relief, on Plaintiff’s

  Eighth Claim for Relief, Plaintiff prays for a judgment declaring that Ordinance Nos.

  5215, 5217 and 5218 do not create a continuing liens against Plaintiff’s real property,
                                                                      SORENSON , RANSOM & FERGUSON & CLYDE , LLP
                                                                                        ATTORNEYS AT LAW
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                                                                                     GRANTS PASS , OR 97526
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  and if any debt does exist, it is limited to 4% simple interest per annum as prescribed

  by the terms of each Ordinance.

         10.    For such other relief as may be adjudged to be just and equitable.

         Dated this 12th day of April, 2016.

                              SORENSON, RANSOM, FERGUSON & CLYDE, LLP



                              /s/ Carl A. Clyde
                              Carl A. Clyde
                              OSB No. 095782
                              cclyde@roguevalleylaw.com
                              Of Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of April, 2016, I served the foregoing FIRST

AMENDED COMPLAINT, by mailing to said parties a true copy thereof, certified by me as

such, contained in a sealed envelope, with postage paid, addressed to said party at the

last known address and deposited in the post office on said day at Grants Pass, Oregon.

              N/A

       Pursuant to Fed. R. Civ. P. 34, 33, LR 34-1(a), LR 33-1(a) and LR 5-10(b), I also

certify that I concurrently served an electronic copy thereof, via ECF/e-mail, addressed to

said parties at their last known e-mails, on said day at Grants Pass, Oregon:

           Matthew R. Cleverley
           701 - 5th Avenue, Suite 2710
           Seattle, WA 98104
           matthew.cleverley@fnf.com

                            SORENSON, RANSOM, FERGUSON & CLYDE, LLP



                            /s/ Carl A. Clyde
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